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                                   4                                  UNITED STATES DISTRICT COURT

                                   5                                 NORTHERN DISTRICT OF CALIFORNIA

                                   6                                          SAN JOSE DIVISION

                                   7

                                   8     GABRIEL LOPEZ,                                      Case No. 23-cv-02227-VKD
                                                        Plaintiff,
                                   9
                                                                                             ORDER REQUESTING
                                                 v.                                          CLARIFICATION
                                  10

                                  11     ENJAY, INC., et al.,                                Re: Dkt. No. 11
                                                        Defendants.
                                  12
Northern District of California
 United States District Court




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                                  14          On August 8, 2023, the parties filed a stipulation advising that they had “reached a separate

                                  15   settlement agreement” resolving the action and requesting that the Court “order that all of

                                  16   Plaintiff’s claims in this action against be dismissed with prejudice.” Dkt. No. 11. In addition, the

                                  17   stipulation references provisions of the parties’ settlement agreement. See id. at 1-2 (“In

                                  18   consideration of this dismissal, Defendants will complete the corrective work in the parking lot

                                  19   within one year. The Parties agree and stipulate that the corrective work will be performed in

                                  20   compliance with [certain regulations].”).

                                  21          The parties may stipulate to dismissal of the action, with or without prejudice, without a

                                  22   court order. See Fed. R. Civ. P. 41(a)(1)(A). Thus, if dismissal with prejudice of plaintiff’s

                                  23   claims is all that the parties seek, the Court need not enter an order to that effect. However, if the

                                  24   parties ask the Court to issue an order incorporating the “corrective work” provisions or other

                                  25   aspects of their settlement agreement, the Court may not enter such an order without the consent

                                  26   of all parties. See 28 U.S.C. §§ 636(b)(1)(A); (c)(1); Williams v. King, 875 F.3d 500, 502-04 (9th

                                  27   Cir. 2017) (discussing magistrate judge consent jurisdiction). Here, defendants have not appeared

                                  28   in the action and therefore the Court does not have the complete consent of all parties.
                                          Case 5:23-cv-02227-VKD Document 12 Filed 08/09/23 Page 2 of 2




                                   1          The Court construes the parties’ stipulation as a voluntary dismissal of the action, with

                                   2   prejudice, which does not require a Court order. If the parties seek entry of a Court order for some

                                   3   other purpose, they shall so advise the Court by August 16, 2023.

                                   4          IT IS SO ORDERED.

                                   5   Dated: August 9, 2023

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                                                                                                   VIRGINIA K. DEMARCHI
                                   8                                                               United States Magistrate Judge
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                                  12
Northern District of California
 United States District Court




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